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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


UNITED STATES,

      v.                                             Criminal Action No. 1:21-cr-00053 (CJN)

EDWARD JACOB LANG,

               Defendant.


                              REVISED SCHEDULING ORDER

       Trial is set to commence in this matter on May 29, 2023, at 9:00 a.m. in Courtroom 19.

Jury selection will begin that day at 9:00 a.m. Jury selection and the trial will be conducted in

accordance with Appendix 8 of the Continuity of Operations Plan for COVID-19, assuming it is

still in effect. The following deadlines shall govern pretrial proceedings:

       1.      Counsel shall appear on December 16, 2022 at 2:30 p.m. for a telephonic status

               conference.

       2.      The Defendant shall produce any reciprocal discovery not already disclosed by

               January 20, 2023.

       3.      The Parties shall file any motions in limine and any factual proffers in support of

               affirmative defenses by February 3, 2023. Oppositions to motions in limine shall

               be filed by February 24, 2023. Any reply shall be filed by March 3, 2023.

       4.      The Defendant shall file any motion seeking a change of venue by February 17,

               2023. The United States shall file any opposition by March 3, 2023. Any reply

               shall be filed by March 10, 2023.

       5.      Before filing a motion, the Parties shall meet and confer to discuss whether any

               issues presented by the motion can be resolved by agreement of the Parties.


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6.      The Parties shall also file with the Court no later than March 24, 2023, a Joint

        Pretrial Statement that contains:

           a. A neutral statement of the case: The Parties shall include a neutral statement

               of the case for the Court to read to prospective jurors.

           b. Proposed voir dire questions: The Parties shall indicate –

                    i. the voir dire questions that the parties agree to; and

                   ii. the voir dire questions that the Parties disagree on, with specific

                       objections noted as to each disputed question.

           c. Proposed jury instructions: The Parties shall submit a list of proposed jury

               instructions, followed by the text of each proposed instruction, that

               indicates:

                    i. the instructions that the Parties agree to; and

                   ii. the instructions that the Parties disagree to, with specific objections

                       noted below each disputed instruction, and the proposed

                       instruction’s source including supporting legal authority.

               Proposed instructions may be updated as needed to reflect the evidence

               presented at trial. Absent a showing of good cause, no other modifications

               will be permitted.

           d. List of witnesses: The Parties shall identify the witnesses that each side

               anticipates it may call in its case-in-chief, divided into the following

               categories:

                    i. witnesses who will be called to testify at trial;

                   ii. witnesses who may be called to testify at trial; and




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              iii. witnesses whose testimony a party will present by deposition or

                  other prior testimony, indicating whether the presentation will be by

                  transcript or video.

           The Court will read the list of witnesses to the jury during voir dire. In the

           list, each witness name should be accompanied by a brief description of

           each witness’s expected testimony and area of expertise, if applicable,

           followed by specific objections, if any, to each witness.

       e. Exhibit lists:   The Parties shall include an exhibit list that each side

           anticipates it may introduce in its case-in-chief. The Parties need not list

           any exhibit that might be used for purposes of impeachment. The Parties

           should confer with Courtroom Deputy Courtney Moore about the format of

           the exhibit list. The Parties should not provide a copy of the exhibits to the

           Court but must exchange pre-marked exhibits.           The Parties must be

           prepared to raise objections to any proposed exhibit at the Pretrial

           Conference. The objecting party shall bring three copies of any contested

           exhibit to the Pretrial Conference.

       f. Stipulations: The Parties shall submit a draft of all stipulations.

       g. Proposed verdict form: The Parties shall include a draft verdict form,

           including any proposed special interrogatories. The draft verdict form

           should include a date and signature line for the jury foreperson.

7. In addition to filing the Joint Pretrial Statement, on March 24, 2023, the Parties

   shall transmit, in Word format, an electronic copy of (a) any proposed modification

   to a standard jury instruction, (b) any non-standard jury instruction, and (c) the




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            verdict form by email to the Courtroom Deputy Courtney Moore at

            Courtney_Moore@dcd.uscourts.gov.

         8. The Parties shall file any Daubert motions on or before April 10, 2023.

            Oppositions to Daubert motions shall be filed by April 24, 2023. Any reply shall

            be filed by May 1, 2023.

         9. The United States should endeavor to make grand jury and Jencks Act disclosures

            as to each witness it expects to call in its case-in-chief by May 19, 2023. Any

            Brady material not already disclosed also must be disclosed by this date.

         10. The Court will schedule hearings on any motions filed by the Parties as necessary.

         11. Counsel shall appear on May 15, 2023, at 10:00 a.m. for a pretrial conference in

            Courtroom 19.

It is so ORDERED.


DATE: November 28, 2022
                                                         CARL J. NICHOLS
                                                         United States District Judge




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